




NO. 07-07-0404-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 30, 2008

______________________________



IVY LEE BELL, APPELLANT



V.



SHENANDOAH INDUSTRIAL DEVELOPMENT CORPORATION, APPELLEE

_________________________________



FROM THE COUNTY COURT AT LAW NO. 2 OF MONTGOMERY COUNTY;



NO. 05-12-11076-CV; HONORABLE J. WINFREE, JUDGE

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Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ON MOTION TO DISMISS

Appellant, Ivy Lee Bell, has filed a motion to dismiss this appeal. &nbsp;No decision of this Court having been delivered to date, we grant the motion. &nbsp;Accordingly, the appeal is dismissed. &nbsp;
Tex. R. App. P. 
42.1(a)(1). &nbsp;As no agreement regarding appellate costs has been filed, 
all costs incurred by this appeal are adjudged against appellant. &nbsp;
Tex. R. App. P. 
42.1(d). &nbsp;No motion for rehearing from appellant will be entertained.

Mackey K. Hancock

Justice


